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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

CARLOS A. RYERSON AND DEBRA                         §
FROST RYERSON                                       §
Plaintiff,                                          §
                                                    §      Civil Action No. 1:18-cv-731
v.                                                  §
                                                    §
US BANK NATIONAL ASSOCIATION                        §
NOT IN ITS INDIVIDUAL CAPACITY                      §
BUT SOLELY AS TRUSTEE FOR THE                       §
RMAC TRUST, SERIES 2016-CIT, AND                    §
RUSHMORE LOAN MANAGEMENT                            §
SERVICES, LLC                                       §
Defendants.                                         §

               JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

TO THE HONORABLE JUDGE OF SAID COURT:

         COME NOW, Plaintiffs Carlos A. Ryerson and Debra Frost Ryerson (“Plaintiffs”), and

Defendants U.S. Bank National Association, not in its individual capacity but solely as Trustee

for the RMAC Trust, Series 2016-CIT (“U.S. Bank”) and Rushmore Loan Management Services,

LLC (“Rushmore”) (“Defendants") (collectively the “Parties”) and file their Joint Stipulation of

Dismissal without Prejudice and would respectfully show the Court as follows:

         1.       Plaintiffs filed their Original Petition in the 207th Judicial Court of Hays County,

Texas on August 6, 2018.

         2.       The Parties no longer wish to pursue litigation at this time. Further, Defendants are

abandoning acceleration

         3.       Accordingly, Plaintiffs and Defendants request that the Court dismiss this lawsuit

without prejudice against filing the same in the future.


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         WHEREFORE, PREMISES CONSIDERED, Plaintiffs and Defendants requests that the

Court enter the attached Order dismissing the above-entitled and numbered cause without

prejudice.

                                            Respectfully Submitted by,

                                            RYERSON & ASSOCIATES, P.C.

                                            By: /s/ Carlos A. Ryerson
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                                            and

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                                            By: /s/Crystal Gee Gibson________________
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